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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                 Exhibit M
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                               Basltington, ilat 20515



                                                 April 19, 2019

The Honorable William P. Barr
Attorney General
U.S. Department of Justice
950 Pennsylvania Ave. NW
Washington, D.C. 20530

Dear Attorney General Barr:

We write in response to your proposal regarding restricted access to a less redacted version of
Special Counsel Mueller's report. Unfortunately, your proposed accommodation-which among
other things would prohibit discussion of the full report, even with other Committee Members­
is not acceptable.

In order for Congress to fulfill its functions as intended by the Constitution, it must operate as a
coequal and coordinate branch of government. Given the comprehensive factual findings
presented by the Special Counsel's Report, some of which will only be fully understood with
access to the redacted material, we cannot agree to the conditions you are placing on our access
to the full report. Nor can we agree to an arrangement that does not include a mechanism for
ensuring access to grand jury material.

As the Special Counsel stated, "The conclusion that Congress may apply the obstruction laws to
the President's corrupt exercise of the powers of office accords with our constitutional system of
checks and balances and the principle that no person is above the law." The Department now has
a duty to submit the full report and underlying evidence to Congress so that it can fulfill its
constitutional responsibilities. This includes considering whether legislation is needed in light of
the findings contained in Special Counsel Mueller's report and the Attorney General's
determination that no prosecution is warranted despite those facts .

.While the current proposal is not workable, we are open to discussing a reasonable
 accommodation with the Department that would protect law enforcement sensitive information
 while allowing Congress to fulfill its constitutional duties.


                                                Sincere                   �-


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                                                          Chuck Schumer
Speaker                                                   Democratic Leader
U.S. House of Representatives                             U.S. Senate

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                                         --�1anne Feinstein
 hairman                                   Ranking· Member
House Committee on the Judiciary           Senate Committee on the Judiciary




Adam Schiff                                    Mark Warner
Chairman                                       Ranking Member
House Permanent Select Committee on            Senate Select Committee on Intelligence
Intelligence




cc:   Honorable Kevin McCarthy, Minority Leader, House of Representatives
      Honorable Mitch McConnell, Majority Leader, Senate
      Honorable Doug Collins, Ranking Member, House Committee on the Judiciary
      Honorable Lindsey Graham, Chairman, Senate Committee on the Judiciary
      Honorable Devin Nunes, Ranking Member, House Permanent Select Committee on
            Intelligence
      Honorable Richard Burr, Chairman, Senate Select Committee on Intelligence




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